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EXHIBIT O-3




                                                        APPENDIX 0257
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Nguyen, DanPhi (CAO)

From:                              Trang Houston <tranghouston@live.com>
Sent:                              Wednesday, July 08, 2015 11:41 AM
To:                                shayolonda.herron@dfps.state.tx.us'; fredrick.jones@dfps.state.tx.us; Nguyen, DanPhi
                                   (CAO)
Cc:                                Law@shandonphanlaw.com; sphan@shandonphanlaw.com
Subject:                           Robbins Mitchell Interfering CPS Investigation


Dear CPS,

I raised my hand and took my oath in front of Judge John Phillips on July 7th, 2015, to testify the truth. The following
information is what I freely and voluntarily provide to CPS to help you complete your investigation regarding
               who are currently in your custody.

The roommate/tenant, Robbins Mitchell, who involved in Shayonlonda’s investigation on June 24 th, 2015 was arrested
and currently out of jail under a bailed bond. He is pending a court hearing. On July 7 th, 2015, I drove him to Houston
Juvenile Court, presiding Judge John Phillips. Robbins Mitchell was prepared to be called as witness to testify in court in
defense of P     and D          T

While we were sitting in the back of the courtroom and waiting for Judge John Phillips, Robbins Mitchell made offensive
comments. He said “the judge needs to get off his lazy ass and gets moving”. He then made another comment about
CPS caseworkers who were waiting in the courtroom (his voice was loud enough for people around him to hear) “they
are fat and ugly people”. People turned their heads toward us sitting in the back. I looked up and rolled my eyes in the
air. It was an embarrassment moment sitting next to P       &D          defense witness. I told him “the officer will
                                                              th
throw you out of the courtroom”. It also happened on July 6 , 2015 at my house when Robbins Mitchell invited his
friends come to the house to visit him. They were in my garage and were talking about his recent arrest. I heard him
calling Shayonlonda a “colored girl” and the reason for CPS investigator named “Shayonlonda” was because she thought
it sounded good to her.

At the courtroom there was a CPS lady sitting next to me. She got up and left the courtroom, and I followed her
outside. I don’t know her name but I stopped her in the hallway, showed her Shayonlonda’s business card and asked
her to call Shayonlonda, (I think Shayonlonda has her phone caller ID number). This was to inform Shayonlonda about
Robbins Mitchell. I never knew about his prejudice, and his hatred for people. I thought he was just a loud mouth
person but he was being obnoxious and disrespectful to people. He demonstrated his true color and racism. I believe
this was the reason why he was so confrontational with Shayonlonda at the first meeting at my house. The meeting was
an opportunity and provided a base intention for him to verbally attack Shayonlonda under false disguise of protecting
the kids. He said it was his “political vendetta”. In my belief, it disrupted and distracted CPS investigation from the
beginning and derailed communication between me and Shayonlonda. He interfered twice in CPS investigation and the
first Court Order when constable was removing the kids; and I determined not to let it happens the third time at the
courthouse. I decided to stop him from appearing in front of Judge John Phillips and removed him from courtroom. I
told my legal counsel, Shandon Phan, that we don’t need Robbins Mitchell’s presence and terminate his bias
testimony. I told Robbins Mitchell to take the bus home. He left the courtroom before our hearing was called.

I believe he is a bad influence for the kids: anti-authority, contempt and disrespect. I have decided to move to another
address and completely evacuate the house at 9226 Sandstone Street by the end of July, before our next court hearing
in August. I told Shayonlonda that Robbins Mitchell is a nutcase and he will be out of my life and out of the kids’ sight.

I hope this information will help you complete your investigation.


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If you have any questions regarding this information, please feel free to contact me.

Thank you,

Trang Vu
Alledged Father of
Cell 713-992-6864
Work 281-444-1585 x 496




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                                                                                        APPENDIX 0259
